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           Exhibit E
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                                                       S    cott Stephen
                                                            & Associates, Inc.       S
                                                         An Appraisal Report of the
                                                          25.132 Acre Tract of Vacant Land
                                                                           Located along
                                                  The South Line of Mack Washington Lane
                                                   Hempstead, Waller County, Texas 77445

                                                                       File ID: 221202069




                                                                                     FOR
                                                                         Appraisal MC
                                                                    320 Detering, Ste. B
                                                                     Houston, TX 77007




                                                                                 As Is:
Scott Stephens                                                       December 28, 2022
& Associates, Inc.

15021 Bohemian Hall Rd.
Crosby, Texas 77532
713-451-3600
713-451-3300 Fax
                                                                              SSA Job No.:
www.scottstephensandassociates.com                                            (2212-16490)

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                                      SCOTT STEPHENS & ASSOCIATES, INC.
                                             Real Estate Appraisers – Consultants
                                      Houston, Austin, San Antonio and South Texas
                                                15021 Bohemian Hall Road
                                                   Crosby, Texas 77532
                                                  Phone: (713) 451-3600
                                                    Fax: (713) 451-3300
                                             www.scottstephensandassociates.com




                                                                                                        Ryan Dagley, MAI, President
Scott P. Stephens, MAI, AI-GRS, CEO                                                 Lt. Colonel (Ret.) Terence J. O’Rourke, MAI, VP




                                                                                                     December 30, 2022

 Appraisal MC
 320 Detering, Ste. B
 Houston, TX 77007

 File ID: 221202069

 Re: Approximately 25.132 acres or 1,094,750 square feet of land located along the south line of
     Mack Washington Lane, Hempstead, Waller County, Texas 77445.

 Dear whom it may concern:

      A real estate Appraisal Report of the above referenced property has been conducted. The
 “As Is” market value of the fee simple estate as of December 28, 2022 is:

                                                     $1,150,000*
         We are not qualified to detect the existence of hazardous materials, which may or may
 not be present on the subject property. Hazardous materials may affect the value of the property.
 The value estimated is predicated on the assumption that there is not such material on or in the
 property that would cause a loss in value. No responsibility is assumed for such conditions or for
 any expertise or engineering knowledge required to discover them. The client is urged to retain
 an expert in this field, if desired.

      THE OPINION OF VALUE STATED ABOVE, AS WELL AS EVERY OTHER
 ELEMENT OF THIS APPRAISAL REPORT, IS QUALIFIED IN ITS ENTIRETY BY THE
 GENERAL ASSUMPTIONS AND LIMITING CONDITIONS SET FORTH IN ANOTHER
 PART OF THIS REPORT AND WHICH ARE AN INTEGRAL PART OF THE REPORT.

 I certify that, to the best of my knowledge and belief, …

 (1)       The statements of fact contained in this report are true and correct.




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(2)     The reported analyses, opinions, and conclusions are limited only by the reported
        assumptions and limiting conditions, and are my personal, impartial, and unbiased
        professional analyses, opinions, and conclusions.

(3)     I have no present or prospective interest in the property that is the subject of this report,
        and I have no personal interest with respect to the parties involved.

(4)     I have no bias with respect to the property that is the subject of this report or to the parties
        involved with this assignment.

(5)     My engagement in this assignment was not contingent upon developing or reporting
        predetermined results.

(6)     My compensation for completing this assignment was not contingent upon the
        development or reporting of a predetermined value or direction in value that favors the
        cause of the client, the amount of the value opinion, the attainment of a stipulated result,
        or the occurrence of a subsequent event directly related to the intended use of this
        appraisal.

(7)     My analyses, opinions, and conclusions were developed, and this report has been
        prepared, in conformity with the Uniform Standards of Professional Appraisal Practice.

(8)     I certify that, to the best of my knowledge and belief, the reported analyses, opinions, and
        conclusions were developed, and this report has been prepared, in conformity with the
        Uniform Standards of Professional Practice, the requirements of the Code of Professional
        Ethics and the Standards of Professional Appraisal Practice of the Appraisal Institute, and
        the specific reporting requirements of the client.

(9)     Katie McGinnis and Kailey Gillings, Appraisal Trainee TX-1343409, have made a
        personal visit to the property that is the subject of this report. Scott P. Stephens, MAI,
        AI-GRS and Ryan Dagley, MAI have reviewed the report and concur with the analysis
        and conclusions.

(10)    Kailey Gillings, Appraisal Trainee TX-1343409 has provided significant professional
        assistance to the persons signing this report.

(11)    I certify that the use of this report is subject to the requirements of the Appraisal Institute
        relating to review by its duly authorized representatives.

(12)    As of the date of this report, Scott P. Stephens, MAI, AI-GRS and Ryan J. Dagley, MAI
        have completed the requirements of the continuing education program of the Appraisal
        Institute and the State of Texas. Katie McGinnis has completed the requirements of the
        continuing education program of the State of Texas. Kailey Gillings, Appraisal Trainee
        TX-1343409 has completed the requirements of the continuing education program of the
        State of Texas.

(13)    The appraiser(s) have not performed services as an appraiser or in any other capacity,
        regarding the property that is the subject of this report within the previous three years
        immediately preceding acceptance of this assignment.



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December 30, 2022


       The attached report is an explanation of the analysis and reasoning used to derive a
market value estimate for the subject. The above values are based on a reasonable exposure
period of 12 months.

        The appraisal was conducted solely for the named client and is for the internal use of the
client only. If you have any questions, please feel free to call.

                                                        Sincerely,
                                                        Scott Stephens & Associates, Inc.




by Scott P. Stephens, MAI, AI-GRS, CEO                  by Ryan J. Dagley, MAI, President
State Certified General RE Appraiser                    State Certified General RE Appraiser
Certificate No. TX-1320269-G                            CeCEOCrtificate No. TX-1335208-G




by Katie McGinnis, Associate                            by Kailey Gillings, Appraiser Trainee
State Certified General RE Appraiser                    Certificate No. TX-1343409
Certificate No. TX-1381012-G

SPS/RJD/KM/KG/rg




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                                EXECUTIVE SUMMARY


Location:                   South Line of Mack Washington Lane, Hempstead, Texas 77445


Property Type:              Vacant Land


Land Area:                  25.132 acres or 1,094,750 square feet of land being Lot 1, Clear
                            Creek Development, Waller County, Texas.


Land Value:                 25.132 acres or 1,094,750 square feet @ $1.05 psf ....... $1,149,488


Final Value Opinion:        $1,150,000


Marketing Period:           12 months


Valuation Date:             December 28, 2022
Date of Report:             December 30, 2022


Appraiser:                  Scott P. Stephens, MAI, AI-GRS, CEO
                            Ryan J. Dagley, MAI, President
                            Katie McGinnis, Associate
                            Kailey Gillings, Trainee Appraiser
                            Scott Stephens and Associates, Inc.



All values stated above are subject to the assumptions and limiting conditions as set out in
this narrative appraisal.




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                                   GENERAL ASSUMPTIONS

       No responsibility is assumed for the legal description provided or for matters pertaining
to legal or title considerations. Title to the property is assumed to be good and marketable unless
otherwise stated. The property is appraised free and clear of any or all liens or encumbrances
unless otherwise stated. Responsible ownership and competent management are assumed.
       The information furnished by others is believed to be reliable, but no warranty is given
for its accuracy. The appraisal will interpret the FEMA map in the report. However, the reader
is directed to the Caution Statement at the bottom of such map regarding the need to have the
property evaluated by a qualified civil engineer or specialist to determine the floodplain status of
the property. We are not experts in floodplain evaluation, nor is our interpretation warranted.
All engineering studies are assumed to be correct. The plot plans and illustrative material in this
report are included only to help the reader visualize the property. It is assumed that there are no
hidden or unapparent conditions of the property, subsoil, or structures that render it more or less
valuable. No responsibility is assumed for such conditions or for obtaining the engineering
studies that may be required to discover them. It is assumed that there is full compliance with all
applicable federal, state, and local environmental regulations and laws unless the lack of
compliance is stated, described, and considered in the appraisal report.
       It is assumed that the property conforms to all applicable zoning and use regulations and
restrictions unless a nonconformity has been identified, described and considered in the
appraisal.     It is assumed that all required licenses, certificates of occupancy, consents, and
other legislative or administrative authority from any local, state, or national governmental or
private entity or organization have been or can be obtained or renewed for any use on which the
value estimate contained in this report is based.
       It is assumed that the utilization of the land and improvements is confined within the
boundaries or property lines of the described property and that there is no encroachment or
trespass unless noted within the report.
       Unless otherwise stated in this report, the existence of hazardous materials or wetlands,
which may or may not be present on the property, was not observed by the appraiser. The
appraiser has no knowledge of the existence of such materials or condition on or in the property.
The appraiser, however, is not qualified to detect such substances or areas. The presence of
substances such as asbestos, urea-formaldehyde foam insulation, and other potentially hazardous
materials may affect the value of the property.         The value estimated is predicated on the
assumptions that there is no such materials on or in the property that would cause a loss in value.
No responsibility is assumed for such conditions or for any expertise or engineering knowledge
required to discover them. The client is urged to retain an expert in this field, if desired.



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                                    LIMITING CONDITIONS

        The opinion of value and every other element of this appraisal report are qualified and
limited by all of the following conditions:

        1.           
          
           
             
        
        2. The appraiser will not be required to give testimony or appear in court because of
having made this appraisal, with reference to the property in question, unless arrangements have
been previously made.
        3. The appraiser, by reason of this appraisal, is not required to give further consultation
or testimony or to be in attendance in court with reference to the property in question unless
arrangements have been previously made.
        4. The distribution of the total valuation in this report between land and improvements
applies only under the reported highest and best use of the property. The allocations of value for
land and improvements must not be used in conjunction with any other appraisal and are invalid
if so used.
        5. Neither all nor any part of the contents of this report, or copy thereof, shall be
conveyed to the public through advertising, public relations, news, sales, or any other media
without written consent and approval of the appraiser.         Nor shall the appraiser, firm, or
professional organization of which the appraiser is a member be identified without written
consent of the appraiser.
        6. By acceptance of this report, the client acknowledges that the value opinion is the
product of a professionally trained mind, but nevertheless is an opinion only, and not a provable
fact. As a personal opinion, a valuation may vary between appraisers based on the same facts.




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                QUALIFICATIONS OF SCOTT P. STEPHENS, MAI, AI-GRS




Mission Statement:



Scott Stephens & Associates, Inc has a staff of 13 including 3 members of the Appraisal Institute
(MAI). Seven appraisers specialize in commercial properties, 3 in residential and 3 support staff.

Professional Affiliation:
   MAI - Designated Member of Appraisal Institute #7758 on March 3, 1988
   AI-GRS - Designated Member of Appraisal Institute # 81916 on November 17, 2015
   State Certified General Real Estate Appraiser (Certificate # TX-1320269-G), since 1991
   Real Estate Broker: Texas License #328907, since 1986

Certification:
   Currently certified by the Appraisal Institute (12/21) and the State of Texas (3/23).

Educational Background:
  Gatesville High School, Gatesville, Texas - May 1979
  Bachelor of Science Degree - Texas A&M University; Agricultural Economics – 1982

Recent Continuing Education Completed:
   Fannie Mae Appraisal Guidelines: Debunking the Myths (2/19), Introduction to Expert Witness
   Testimony for Appraisers: To Do or Not to Do (2/19), Supporting Your Adjustments: Methods
   for Residential Appraisers (2/19), Business Practices and Ethics (5/20), Millennials are
   Changing Real Estate (6/20), Broker Responsibility (6/20), Texas Legal Update Parts 1 & 2
   (6/20), A New Look at Contract Law (7/22), Texas Legal Update Parts 1 & 2 (7/22), Ethics in
   Age of Disruption (7/22), Preforming Quality BPO’s (7/22)

Property Types Appraised:
   Appraisal Reviews              Day Care Facilities     Mini Warehouse    Restaurants
   Automotive Repair              Eminent Domain          Mobile Home Parks Single Family
   Box Retail                     Fire Stations           Multifamily       Shopping Centers
   Car Dealerships                Hotel/Motels            Office Buildings  Subdivisions
   Churches                       Industrial              Office Warehouses Vacant Land
   Convenience Stores             Medical Office          Ranches           Various Other

Expert Witness: Harris, Bexar, Fort Bend and Montgomery Counties

Partial List of Clients:
       : Allegiance, Austin, Bank of Houston, Capital, Comerica, Community Bank of TX,
Eppraisal, Falcon, 1st Financial, 1st Liberty, 1st National, 1sr Security, 1st State, Guaranty,
Independent, Origin, Plains Capital, Prosperity, Regions, South Trust, Texas Citizens, Texan,
Third Coast, Truist, Trustmark, Wallis, Woodforest and many others.                              :
Community Resource CU, Mobil CU, Shell FCU, Five Point CU, Security FCU, Chambers
County, Harris County, Cities of Dayton, Houston, Beaumont, Mt Belvieu and Pasadena, as well
various attorneys, corporations, credit unions, individuals, insurance companies, colleges, school
districts, and appraisal management companies.
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Memberships, Boards, Service:
Houston Chapter of the Appraisal Institute Board of Directors 1994-6; Past Chair of Education
Chairman of the Board 2005, Board of Directors 2001-6, Member 1990-2017 - North Channel
   Area Chamber of Commerce; Crosby-Huffman Chamber of Commerce 2017 – present
Member of San Jacinto College Foundation Board 2006- 2007
Member of the Rotary Club of North Shore - President 1998-1999 also served as President-Elect,
     Secretary, Treasurer and Sergeant at Arms in prior years
Rotary District 5890 Assistant District Governor 1999-2000, 2009-2010; Chairman of Rotary
   District 5890 Polio Worldwide Eradication Committee (2001-2, 2004-6)
Chairman of Live Auction for Northshore Rotary Catfish Fry & Crawfish Boil 2008-15
Have served as a special commissioner for Harris County Court at Law #3 & #4
Vice President of Harris County MUD #8, Former VP of Woodforest Professional Plaza
President of Crosby Sports Association 2002-2004, Youth Baseball Coach 1995-2004
Past Member of Board of Directors of the former Brazos Valley Bank in College Station, Texas
Member of First Baptist Church in Crosby, the National Association of Realtors and the Houston
Board of REALTORS ®; Board of directors, former Chairman of the Board – Parent Heart Watch,
Crosby Fair & Rodeo, Channelview FFA Fair, Sheldon FFA Fair – Auction Buyer
Chaired and served on numerous other committees for Chamber of Commerce, Crosby Sports
Association, Houston Chapter of Appraisal Institute, Church and other civic associations
President of the Cody Stephens Go Big or Go Home Memorial Foundation which was awarded
“Foundation of the Year” by the Crosby Huffman Chamber of Commerce – 2014.

Awards, Interests, Background
Selected by the Houston Chronicle as a Houston Hero for 2015
Crosby Huffman Chamber of Commerce “Citizen of Year – 2012”
Rotary International: North Shore Rotary Club Rotarian of the Year 2010, Rotary International’s
“Four Avenues of Service Citation for Individual Rotarians” 2003-2004, Rotary International
District 5890’s “Rotary Foundation Supporter of Year” 2003-2004, Rotary International’s
Presidential Citation 1998-1999, “Co-President of the Year” for the Rotary International District
5890, 1998-1999, Rotary Foundation Paul Harris Fellowship Major Donor
Houston Chapter of the Appraisal Institute 1992 and 1993 - Key Man Award
Patriotic Employer – Office of the Secretary of Defense 2003 & 2012
North Channel Chamber of Commerce - Dedicated Service Award, 2007
Employers include Dominy, Ford McPherson & Teel 1983-7, Ted Whitmer & Associates 1987,
Whitmer & Stephens, Inc. 1988. Scott Stephens & Associates, Inc since January 1989.
While at Texas A&M University was a member of the Alpha Zeta Honor Society, Baptist Student
Union, Baptist Home Mission Board Summer Missionary 1981, Dean’s List, Student Housing
Dorm Head Resident and graduated in 3.5 years.
Have served as host family for exchange students and young professionals from Australia, Chile,
Germany, Italy and Serbia.
Born in Big Spring, Texas, 12/60. 3 children. Hobbies include reading, outdoor activities, assisting
students with 4H and FFA livestock show projects, the pinnacle of which included my eldest son
winning Reserve Grand Champion Steer at the HLS&R in 2006. Personal Note: My youngest son,
Cody, died on May 6, 2012 at the age of 18. He was an athlete preparing for college football. I am
now actively involved promoting heart screening in our youth throughout the state of Texas. I
work with Texas school districts promoting the inclusion of heart screenings (ECG’s) with their
student physicals. In 2013, 2015, 2017 and 2019 bills were introduced in the Texas Legislature to
make this a part of the student physicals at my request. The bill passed and became “Cody’s Law”
HB76 in September of 2019, making Texas the first state to have this law. The law has now
passed in Pennsylvania and been introduced in many other states. For more information or go to
www.codystephensfoundation.org or follow us on Facebook.
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                        QUALIFICATIONS OF
      THE HONORABLE RYAN JOSEPH DAGLEY, MAI, CHAMBERS COUNTY
                       COMMISSIONER PCT 4




Professional Affiliations:
        MAI - Designated Member of the Appraisal Institute #442002
        State Certified General Real Estate Appraiser License #TX-1335208-G

Educational Background:
       North Shore High School- Houston, Texas May-1997
       University of Houston Houston, Texas - Graduate with Bachelor of Business Administration -
       Degree, May, 2002

Recent Continuing Education Completed:
       Basic Hotel Appraising Limited Service Hotels (4/3/2019, Appraisal of Land subject to Ground
       Leases (4/8/2019), Appraisal of Fast food Facilities (4/1/2019), USPAP Update (4/24/2019),
       Residential Property Inspection for Appraisers (5/2017), Appraisal of Owner Occupied Properties
       (5/2017), Appraisal of REO Properties (5/2017), Business Practice and Ethics (5/2020)

Current Employment:
      Scott Stephens & Associates, Inc., Houston, Texas- Since 2002,
      Vice President Since January 2011
      Named President in January 2020

Property Types Appraised:
       Apartments                    Farm and Ranch       Mobile Home Parks       Retail Centers
       Banks                         Hotels/Motels        Office Buildings        Single Family
       Boat/RV Storage               Industrial Plants    Office Service          Single Tenant Retail
       Churches                      Light Industrial     Office Warehouse        Special Purpose
       Commercial Developments       Medical Office       Raw Land                Subdivisions
       Condemnation                  Mini-warehouses      Restaurants             Various Other

Expert Witness: Harris, Jefferson, and Galveston Counties

Partial List of Clients:
        Banks: Allegiance, Amegy, Austin, Barbers Hill, BB&T, Capital, Community Bank of Texas,
        BBVA Compass, East Chambers, Eppraisal, Falcon, 1st Financial, 1st Liberty, 1st National, 1st
        State, Heritage, Independent, Integrity, Mainland, National United, Origin, Plains Capital,
        Prosperity, Regions, Spirit of Texas, South Trust, T Bank, Texas Citizens, Third Coast, Truist,
        Trustmark, Wallis St, Woodforest, Zions 1st National and many others. Additional Clients:
        Community Resource CU, Mobile CU, Shell FCU, Smart Federal CU, Five Point CU, Chambers




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Qualifications of Ryan J. Dagley, MAI, continued:

       County, Harris County, State of Texas, U.S. Army Corps of Engineers, Cities of Dayton,
       Houston, Beaumont, Mt Belvieu and Pasadena, as well various municipal utility districts,
       emergency service districts, attorneys, corporations, credit unions, individuals, insurance
       companies, colleges, school districts, and appraisal management companies.


Biographical Background:
       Born in Baytown, Texas, May 1979. Completed primary and secondary education in Houston,
       Texas, May 1997. Attended Texas A&M University from 1997-1998, San Jacinto Junior College
       from 1998-1999, and the University of Houston from 1999-2002. May of 2002, earned bachelors
       degree in Business Administration. Married wife Isis in 6/2002 and have two children (Ryan
       Dagley Jr and Kayla Dagley). Have worked in the field of real estate appraisal since 2002, and
       now President of Scott Stephens & Associates, Inc. Became a Member of the Appraisal Institute
       in June 2015.

       Memberships, Boards, Service: Member of the Rotary Club of North Shore - Sergeant at Arms
       in 2008, Community Service Chairman 2009, 2013, 2014, 2015, 2016, Chairman of VIP
       Committee for Northshore Rotary Catfish Fry & Crawfish Boil 2007 til 2018, Multiple Paul
       Harris Fellow-Major Donor, North Shore Rotary Club Rotarian of the Year 2015, Board of
       Director for North Shore Rotary 2015-2018, Treasurer of the North Shore Rotary 2016-2017,
       Secretary of the North Shore Rotary Club 2017-2018, President-Elect of the North Shore Rotary
       Club 2018-2019, President of the North Shore Rotary Club 2019-2020, President of Greenbriar
       Estates HOA from 2008-2015, North Channel Area Chamber of Commerce member 2004-2012,
       West Chambers County Chamber of Commerce Member-2017-Present, North Channel Area
       Chamber of Commerce – 2011-2012, Board of Directors, Youth Baseball Coach 2010-2019,
       Board of Director for the Cody Stephens Go Big or Go Home Foundation, Lee College Education
       Foundation- Director, Alderman for Beach City 2019-2020, Mayor of Beach City, Texas 2020-
       2022, Chambers County Commissioner Pct 4 2023-Present




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                         QUALIFICATIONS OF KATIE A. MCGINNIS




                                                   


Professional Affiliations:
        Texas State Certified General Real Estate Appraiser – License # TX-1381012 G

Educational Background:
       Texas A&M University, College of Agriculture and Life Sciences, College Station, TX;
       Bachelor of Science, Animal Science -May 2012

Recent Continuing Education Completed:
       Appraisal Institute: General Appraiser Sales Comparison Approach (8/17/2018), General Appraiser
       Income Approach Part 1 (9/14/2018), General Appraiser Site Valuation and Cost Approach
       (10/6/2018), General Appraiser Income Approach Part 2 (10/16/2018), General Appraiser Report
       Writing and Case Sutdies (10/20/2018), Real Estate Finance, Statistics, and Valuation Modeling
       (11/30/2018), General Appraiser Market Analysis and Highest and Best Use (2/28/2019), Advanced
       Income Capitalization (5/3/2019)
       McKissock: Basic Appraisal Principles (12/15/2017), Basic Appraisal Procedures (1/28/2018), 15-
       hr National USPAP Course (4/22/2018)

Current Employment:
      Scott Stephens and Associates, Inc., Houston, Texas – Since July 2018, Licensed Real Estate
      Appraiser

Property Types Appraised:
       Apartments                      Farm and Ranch       Mobile Home Parks        Retail Centers
       Banks                           Hotels/Motels        Office Buildings         Single Family
       Boat/RV Storage                 Industrial Plants    Office Service           Single Tenant Retail
       Churches                        Light Industrial     Office Warehouse         Special Purpose
       Commercial Developments         Medical Office       Raw Land                 Subdivisions
       Condemnation                    Mini-warehouses      Restaurants              Various Other


Biographical Background:
       Born in Houston, Texas, March of 1990. Completed primary and secondary education in Crosby
       Independent School District in May of 2008. Attended Texas A&M University from the fall of 2008
       through May of 2012. In May of 2012, I was awarded a bachelor’s degree in Animal Science. In
       the five years after graduation, I worked as a teacher for Crosby Independent School district,
       teaching various subjects including Physics, Veterinary Medicine, and Animal Science. I began
       working at Scott Stephens and Associates, Inc as a real estate appraiser trainee in July 2018. Became
       a State of Texas Licensed Appraiser in July of 2020.




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                                                                                                                                                File No. 16490

                                                                           LOCATION MAP
      Borrower or Owner:
      Subject Address: SL of Mack Washington Lane                                                                  Census Tract: 6803.03
      City: Hempstead                County: Waller                                                                State: TX         Zip Code: 77445
      Lender or Client:                                                                                            Lat: 30.116343    Long: -96.049399




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                                                                                                                               Copyright 1994-2022, MapPro Inc.
                  The location of property arrows shown on this map are approximate only. Inaccuracies may exist on map such as missing, incorrectly drawn, or incorrectly
  CAUTION:        addressed streets. Please report any such inaccuracy to MapPro, Inc. so that appropriate corrections can be made.

                                                                                         18
                        Prepared by Scott Stephens & Associates, Inc. using MapPro Service. MapPro Inc., PO Box 37427, Houston, TX 77237 1-866-3MAPPRO.
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                                PURPOSE OF THE APPRAISAL

       The purpose of this appraisal is to estimate the “as is” market value of the fee simple estate
of the subject property being described as:

               25.132 acres or 1,094,750 square feet of land being Lot 1, Clear Creek
               Development, Waller County, Texas.

                              PROPERTY RIGHTS APPRAISED

       The property rights appraised are the fee simple estate of the subject property, subject to
existing easements, restrictions, and prior encumbrances.

                              DEFINITION OF MARKET VALUE

               Market value means the most probable price which a property should bring
       in a competitive and open market under all conditions requisite to a fair sale, the
       buyer and seller each acting prudently and knowledgeably, and assuming the price
       is not affected by undue stimulus. Implicit in this definition is the consummation
       of a sale as of a specified date and the passing of title from seller to buyer under
       conditions whereby:

           -   Buyer and seller are typically motivated;
           -   Both parties are well informed or well advised, and acting in what they
               consider their own best interests;
           -   A reasonable time is allowed for exposure in the open market;
           -   Payment is made in terms of cash in U.S. dollars or in terms of financial
               arrangements comparable thereto; and
           -   The price represents the normal consideration for the property sold
               unaffected by special or creative financing or sales concessions granted by
               anyone associated with the sale.

           Sources: OCC Regulations, No. 12-CFR-Subpart C-34.42(g) Title XI of the
           FIRREA Act of 1989, Interagency Appraisal and Evaluation Guidelines of
           December, 2010.

       Note: The appraiser defines the reasonable exposure time as 12 months.

                         MARKETING TIME AND EXPOSURE TIME

       The exposure time is the estimated length of time the property interest being appraised
would have been offered on the market to the hypothetical consummation of a sale at market value
on the effective date of the appraisal. The marketing time is an opinion of the amount of time it
might take to sell the property interest being appraised at the concluded market value level during




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the period immediately after the effective date of an appraisal. In this case, the exposure time and
marketing time is estimated to be approximately 12 months, which is based on interviews with
market participants, analysis of the sales comparison approach and investor surveys.

                               EFFECTIVE DATE OF APPRAISAL
                                   DATE OF THE REPORT


          The effective date of the appraisal for the “as is” value is December 28, 2022, the date of
the site visit. The date of the report is December 30, 2022.

                              INSTRUCTIONS TO THE APPRAISER

          The appraisers were instructed by the client to conduct an “as is” market value appraisal of
the fee simple estate of the subject property. Data provided by the client includes legal description
of the subject property and specific appraisal guidelines.

                                   SCOPE OF THE APPRAISAL

          This is a Summary Appraisal Report. It presents discussions of the data, reasoning, and
analyses that were used in the appraisal process to develop the appraiser's opinion of value. The
depth of discussion and analyses contained in this report is specific to the needs of the client and for
the intended use stated in this report. The appraiser is not responsible for unauthorized use of this
report.
          The term "extent of the research" relates to the extent of the process of collecting,
confirming, and recording data. All sources of information have been documented throughout the
report and the appraisers relied on the accuracy of these sources. However, it is suggested by the
appraiser that the client read and fully understand the assumptions and limiting conditions set forth
within as to the extent of responsibility of the appraiser.
          The appraisal was conducted in conformity with the Ethics and Standards of The Appraisal
Institute, the State of Texas, the Uniform Standards of Professional Appraisal Practice (USPAP),
and guidelines requested by the client. This appraisal considers the land sales comparison approach
to value, but not the cost approach to value or the income approach to value because the subject
represents vacant land.
          The research included comparable sales of land with similar physical characteristics,
occurring in the past three years within the subject area. All of the land sales included in this
analysis were confirmed by Scott Stephens and Associates, Inc. Some of the items which were
verified in the confirmation process include the sale prices, recording data, physical and income
characteristics, and other vital information available from the grantor or grantee, and from actual
deed records as reported by various reporting services or county agencies.


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       Kailey Gillings, Appraiser Trainee TX-1343409, has provided significant professional
assistance to the persons signing this report, including assisting in the site visit of the subject
property, researching neighborhood and market information, and research of comparable sales of
land with similar physical characteristics.
       The site visit to the subject property was conducted on December 28, 2022. The subject
property consists of approximately 25.132 acres or 1,094,750 square feet tract of vacant land. A
property visit to the subject site and of the surrounding environment was conducted.
       COVID-19 (Coronavirus): The global outbreak of a “novel coronavirus” known as
COVID-19 was officially declared a pandemic by the World Health Organization (WHO). The
reader is cautioned and reminded that the conclusions presented in this appraisal report apply only
as of the effective date(s) indicated. The appraiser makes no representation as to the effect on the
subject property of any unforeseen event, subsequent to the effective date of the appraisal.
       The COVID-19 or Coronavirus global pandemic arrived in United States in late January of
2020 unleashing unprecedented public gathering restrictions by March of 2020. The long- and
short-term market impact from Covid-19 is in determining the market value conclusion.
       The attached report presents all factual knowledge concerning the subject property to
include its physical characteristics, characteristics of the general area, neighborhood and the
immediate market. After presenting factual knowledge concerning the subject property and its
market, the land sales comparison approach to value are analyzed and a final value estimate is
reconciled and identified.

                                  COMPETENCY PROVISION

       It is presented that this report was completed by Scott P. Stephens, MAI, AI-GRS, Ryan
Joseph Dagley, MAI, Katie McGinnis, and Kailey Gillings. Scott Stephens and Ryan Dagley hold
the MAI designation awarded by the Appraisal Institute, and are currently certified under the
continuing educational programs. Further, this designation is held by appraisers experienced in the
valuation and evaluation of commercial, industrial, residential, and other types of properties; and
who advise clients on real estate investment decisions. Ryan Dagley, Scott Stephens, and Katie
McGinnis are State Certified General Real Estate Appraisers, and are currently certified under the
continuing educational programs. The appraisers have completed numerous appraisal assignments
on properties such as the subject and have the experience and ability to complete the appraisal in a
competent manner. For a more detailed description of the appraiser's qualifications, refer to the
introduction section of this appraisal. Kailey Gillings, Appraiser Trainee TX-1343409 has provided
significant professional assistance to the persons signing this report and is a Trainee under Mr.
Scott Stephens, MAI, AI-GRS. Kailey Gillings is a trainee and is under the continuing educational
programs from the TALCB.


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               INTENDED USER AND INTENDED USE OF THE APPRAISAL
                          IDENTIFICATION OF CLIENT


         The intended use of the appraisal is for the internal use of the client (Appraisal MC) for
asset evaluation and analysis. The intended user of this appraisal is Appraisal MC.


                                  HISTORY OF THE SUBJECT


         According to the Waller County Appraisal District (WCAD), the subject is a 25.132-acre or
1,094,750 square feet tract of land. Per the Waller County Appraisal District (WCAD), the subject
is under the ownership name of CBT Group LLC, who has owned the subject for less than three
years (since March 29, 2022 per WCAD). The subject site was purchased by the current owner in
March of this year at an undisclosed purchase price. Currently, the subject is not being marketed for
sale. There have been no other known conveyances of title for the subject within the past three
years.


                                      REAL ESTATE TAXES

         The Waller County Appraisal District lists the ownership name of CBT Group LLC
(property ID 257912). Copies of the subject’s WCAD tax information pages are included within the
Addenda section. The subject has an assessed value of $1,094,750. Due to an agriculture exemption
on the property, the current (2022) total assessed valuation for the subject property is $1,890, of
which 100% is attributed to the land. The subject property is within the taxing jurisdictions of the
City of Hempstead, Waller-Harris Emergency Service District 200, Waller County, Waller County
FM, and Hempstead Independent School District. The current (2022) total tax rate is $2.335144 per
$100 in assessed value. Thus, the current total indicated tax liability for the subject based on the
above estimated assessed value of the subject is $44. ® This report assumes all taxes are paid to
date.

                                         CITY ANALYSIS


         The Houston-The Woodlands-Sugar Land Metropolitan Statistical Area has 7.1 million
inhabitants and is the fifth most populous metro area according to the US Census Bureau as of
2019, their most current reported year. Additionally, the City of Houston has approximately 2.3
million inhabitants which puts the city as the fourth-largest US city.
         Houston’s economy historically relied on the petroleum and petrochemical exploration and
production industries, earning the city the title “Oil Capital of the Nation.” However, today


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Houston has broadened its economic base, shifting away from the energy sector and diversifying in
industries like biotechnology, nanotechnology, manufacturing, logistics, and aeronautics.
       The COVID-19 pandemic has led to a widespread economic disruption across the MSA,
and its effects have been felt both directly and indirectly. The government mandated stay-at-home
orders directly impacted the retail and hospitality sectors by curtailing spending at non-essential
businesses and softening demand. Furthermore, as global travel largely froze after the pandemic,
the demand for oil and gas crashed resulting in negative oil prices for the first time in the industry’s
history. These subsequent lower oil prices globally led to indirect effects on Houston’s energy and
manufacturing industries.
       These consequences of the pandemic saw vacancy rates increase substantially in 2020,
correlating with both negative absorption and decreasing rental rates in most areas and sectors of
the real estate market. The office market experienced -4.4 million SF of net absorption in 2020,
which was the worst year on record, and an overall vacancy rate of above 18% is one of the worst
in the nation as the Houston office market was already facing problems pre-pandemic as owners
have had to contend with successive supply waves and waning energy tenant demand. In the
industrial sector, demand is being driven by e-commerce providers, logistics companies, building
material retailers, and discount stores. Yet Houston’s industrial sector is experiencing record-
breaking new supply, leading to rising vacancies and some of the lowest rent growth metrics in the
country. An increase in vacancies in the retail sector caused by businesses shutting down has forced
landlords to lower rents, and 2020 marked the first time the market registered negative annual rent
growth in ten years. Rent growth has remained firmly in the red since.
       Looking forward, while the local recovery outpaced that of the US due to the state’s
accelerated reopening, the recovery of the Houston economy depends largely on an improving
health situation.
       The near term outlook is bleak, as cutbacks in non-essential retail spending, especially for
service, entertainment, and apparel retailers has hurt retailer revenues significantly. Further, the
unpredictability of the energy markets here forward add to the economy’s volatility. Although the
US rig count started to rebound slightly in early 2021, it still remains in historically low territory,
extending economic uncertainty for Houston’s exploration, production and oil field service
companies, which are the region's largest employers.
       However, in the longer term, Houston’s economic outlook remains optimistic with the
vaccine rollout, and economists are forecasting 35,000 to 71,500 new jobs in 2021. Though the
energy industry is predicted to remain stagnant, above-average population growth, and expansion in
housing, transportation and distribution will continue to drive growth. This is particularly true in
Houston’s northern and western suburbs, which are growing quickly and have become the primary
target for investment buyers. These areas are anticipated to witness an outsized share of new



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demand, as demand for shopping and rental housing is strengthened in these suburbs due to a shift
in renter and employer preferences to outside the core as a result of the health crisis and subsequent
remote working.
           Geography: The Houston metro is composed of Harris, Galveston, Brazoria, Fort Bend,
Chambers, Montgomery, Austin, Liberty, San Jacinto, and Waller counties located in southeastern
Texas. Bordered on the southeast by the Gulf Coast, the metro encompasses Galveston Bay. The
Houston Ship Channel links the City of Houston to the Gulf of Mexico. The area’s terrain is level
and drains into a number of bayous and canals. Growth has sprawled, primarily to the north and
west, making Houston the fifth-most populated metro in the nation. These 10 counties have a
population of almost 7.1 million people. Houston is the largest city, with nearly 2.3 million
residents, followed by Pasadena and Pearland.
           Infrastructure: Great strides have been made to upgrade Houston’s transportation
infrastructure, with installments of Metro Rail and the completion of Interstate 10 in West Houston
now comprising sections of the state’s first interstate toll road. Also, the apportion of U.S. 59
through Houston has been upgraded and renamed Interstate 69. When the 1,600-mile interstate is
completed, Houston will have better access to Canada and Mexico. Since 1994, construction on the
massive State Highway 99, or “Grand Parkway,” has driven growth in the metro. This outer loop
will be the largest beltway in the U.S. once completed.
           There are two major commercial Airports within the Houston MSA. George Bush
Intercontinental Airport (IAH) is among the country’s busiest airports, servicing most major
airlines and has non-stop flights to every inhabited continent. Additionally, it is the second largest
hub for United Airlines. William P. Hobby Airport (HOU) is Houston’s secondary commercial
airport, and is an operating base for Southwest Airlines providing both domestic and international
flights.
           The Port of Houston contains 210 Miles of facilities located along the Houston Ship
Channel and has recently been expanded. The port is one of the world’s busiest, moving more than
200 million tons of cargo, and it records nearly 8,000 vessel calls annually. As the closest gulf port
to the Panama Canal, Houston will benefit from the port’s increased capacity.
           Economy: Houston is the center of the U.S. petroleum industry. The metro leads the nation
in petrochemical manufacturing and refining and ranks highly in manufacturing agricultural
chemicals, fertilizers, and pesticides. In fact, Houston is home to 44 of the 128 publicly traded oil
and gas companies. Houston is also the world’s primary producer of oil-field equipment. Other
products manufactured in Houston include paper, electrical and electronic machinery, iron, and
steel.
           Today Houston has broadened its economic base, shifting away from the energy sector and
diversifying in industries with a particular stronghold in healthcare and the life sciences. In fact,



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Houston is home to the largest medical center in the world at the Texas Medical Center, which
treats more than 7.2 million patients annually and employs more than 100,000 people. The Texas
Medical Center has plans to expand its footprint, with several million SF of new life sciences-
oriented mixed-used projects in the pipeline. With this expansion, they seek to establish Texas as
the “Third Coast” for life sciences and biotechnology research, competing directly with Cambridge,
MA and San Francisco, CA. As such, Houston’s public and private sectors today are united in
growing its global life sciences profile.
       The Port of Houston is one of the country’s busiest for exports and is in the process of
upgrading its facilities to handle the larger supertankers that will come through the widened
Panama Canal. Significant trading partners include Mexico, Saudi Arabia, Venezuela, China, and
Germany. The port directly supplies thousands of jobs and generates billions of dollars in business
revenue, and is central to the region’s ongoing development as a hub for international trade.
       Labor: Prior to the outbreak of the CoronaVirus Pandemic, the Houston MSA consistently
ranked among the top metros for job growth in the country. Ample job opportunities had spurred
significant population growth and more than 1.1 million new residents were added from 2010 to
2019. However, the onset of the pandemic has had a large impact on the Houston economy, leading
to a significant rise in unemployment due to the closing of many retail, transportation-related, and
hospitality businesses: at the height of the pandemic, Houston’s unemployment reached 14%.
While this level has recovered to just above 8%, this is still significantly above the pre-pandemic
number of 4.1%.
       Today, Houston’s labor pool consists of nearly 3.4 million individuals according to Texas
Labor Market Information and is dominated by jobs in the energy industry, which consists of the
following components: upstream energy (oil and gas exploration and production), pipeline
transportation and oil field equipment manufacturing, and downstream energy (refining, chemicals
manufacturing). At present, upstream companies represent less than one-third of Houston’s jobs,
while energy-independent businesses represent more than 50 percent.
       Substantial structural shifts in Houston’s employment base has reduced its vulnerability to
downturns in energy. The Port of Houston and George Bush Intercontinental Airport contribute to
the trade, transportation, and utilities sector, which is the largest employment sector in the metro,
comprising 21% of all nonfarm jobs. This sector experienced a loss of -2.3% as a result of the
pandemic, as compared to -6.8% of all nonfarm jobs. Professional and business services is the
second largest sector, accounting for 16.2% of total employment, and likewise experienced a loss
below the total at -5.8%.
       Employers: Houston serves as the headquarters for 22 Fortune 500 companies (September
2020) in industries such as energy, transportation and technology. Corporations on the list include
Phillips 66, Sysco, Baker Hughs and Halliburton. Houston is fourth among metros nationwide in



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the number of Fortune 500 headquarters, behind only New York City, Chicago and Dallas.
Houston’s major employers include H-E-B, Houston Methodist, Memorial Hermann Health
System, and MD Anderson Cancer Center.
       Though Houston is home to many major corporations, businesses with 250 or more workers
account for only a small portion of total employment. The metro has hundreds of thousands of
small businesses, which provide jobs in all employment sectors.
       Demographics: The following data is taken from the US Census Bureau as of 2019. The
metro’s population has grown 19.5% since 2010, adding more than 1.2 million residents and is
predicted to continue to increase for the next five years at approximately 2.2% annually. A large
portion of the growth will come from immigration as an expanding employment base attracts young
workers to the region. As a result, the area has one of the lowest median ages among major U.S.
metros at 34.9 years per the US census. Around 29% of residents fall within their prime
employment years of 25 to 44.
       The availability of employees also helps attract corporations seeking a large, affordable and
skilled labor pool. More than 33% of area residents age 25 and older have attained a bachelor’s
degree and more than 12% hold a graduate degree.
       A skilled workforce as well as the concentration of Fortune 500 headquarters and major
business operations in the region contributes to income growth. The metro’s median household
income, currently at $69,193 per year, is expected to rise significantly in the next five years. Low
housing prices help to keep Houston as one of the most affordable major metros in the country,
with more than 60% of households owning their home.
       Quality of Life: Outdoor activities abound in Houston as a result of the city’s favorable
location and climate. More than a dozen state parks and recreation areas lie within a short drive of
Houston, and more than 500 parks and open spaces are located in the immediate area.
       For those seeking cultural activities, Houston is one of very few U.S. cities with permanent
professional resident companies in opera, ballet, orchestra and theatre. The area also has a strong
collection of museums including the Museum of Fine Arts, Houston; Children’s Museum of
Houston; and the Lawndale Art Center. Additionally, Houston is home to four professional sports
teams: the Houston Texans, the Houston Astros, the Houston Rockets, and the Houston Dynamo.
       Educational opportunities also play a key role in Houston’s quality of life. The education
and health services sector accounts for 12 percent of total employment. Johnson Space Center for
instance, is a popular tourist and educational destination. Houston offers distinguished school
districts and more than 40 colleges, universities and institutions. The metro is also known
internationally for its medical community and is home to the Texas Medical Center, the largest
medical center in the world.




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          Due to its affordability, warm climate, low taxes, and pro-business environment, Houston is
well positioned for future growth and remains resilient in the face of the current recession. If the
reader desires more detailed statistical and background information for the City of Houston it is
available for the reader at the following website address: www.houstontx.gov. This web site
contains information on the history of the city, the form of government, economy, and trade, and
area attractions.
          The information contained in the market overview comes from Marcus & Millichap and other sources deemed to be

reliable, however, no representation, warranty or guarantee, express or implied, may be made as to the accuracy or reliability of the

information contained herein. The most timely data available at time of production, including estimates and forecasts, were used and

may be subject to revision.


                                            NEIGHBORHOOD ANALYSIS


          A neighborhood is defined as "A group of complimentary land uses; a congruous grouping
of inhabitants, buildings, or business enterprises."                                                                              6th
Edition
          The purpose of the area and neighborhood analysis section of this report is to provide a
background for the subject property in terms of its most immediate influences. This section
delineates factual data according to the social, economic, governmental, and environmental forces
that affect the inhabitants, and thus the value of the property in the general and immediate
neighborhoods.
          Location/Boundaries/Access: The subject neighborhood may be generally defined to be
the Hempstead area of Waller County and the City of Waller. Specifically, the US 290 corridor
between the City of Hempstead to the west and the City of Waller to the east. Hempstead and
Waller represents a rural communities situated approximately 40 to 50 miles northwest of the
Houston Central Business District. The City of Waller is centered around the intersection of US
290 and the Harris-Waller County line and Hempstead is centered around the intersection of US
290 and SH 6.
          The subject property itself is located within city limits of the City of Hempstead, which is
an incorporated part of Waller County, Texas. Specifically, the subject property is situated along
the south line of Mack Washington Lane, being just north of Business US 290 (Old Hempstead
Highway). Furthermore, the subject is located approximately 1.50 miles east of State Highway 6
(SH 6).
          Traffic Arteries: US 290 begins at Loop 610 in near northwest Houston and ends at IH 35
in north central Austin. While there are several other routes, since the completion of all of the US
290 bypass highway sections northwest of Houston, it is now the most traveled route between these



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two important Texas cities. SH 6 begins at Hitchcock, at IH 45, just west of Galveston, and loops
around the south side of the Houston Metro Area, turning north in the Sugar Land Area, and
continuing as SH 6 until it reaches US 290. To the north it becomes FM 1960, eventually ringing
the entire greater Houston area, meeting back with SH 6 in Hitchcock as SH 146. SH 6 itself
follows the common route with US 290 until it branches off to the north at Hempstead, continuing
to the Bryan/College Station, Texas A & M University and beyond.
       The old highway still exists between Hempstead and Houston, generally known as
Hempstead Highway, but has become rather secondary as a result as the new configuration. There
are plans to make this a toll road at some future date. The other two communities in this immediate
area are Waller (the county seat), and Prairie View (home of Prairie View A & M University).
Like most rural towns, there is a healthy network of farm to market and county roads that service
the area.
       Development: Hempstead began as a cattle and agricultural town situated along a major
railroad. It now represents a town of just around 5,000 in population. The old downtown area still
has some viable businesses, and even though the main traffic has been redirected to the north, most
of the retail and service development is still along the old highway. The city government is of the
Alderman type. There are several banks, medical clinics, doctors, dentist, and chiropractors, a
physical therapist, and a nursing home. There are a total several churches, restaurants, a super
market, a Wal Mart, and numerous retail and service oriented businesses.
       The Lawrence Marshall Automobile Dealership, which was one of the major dealerships in
the state, has been shut down and is no longer a draw to the area. There is a motel on the south side
of US 290 west of SH 6, and several service station and truck facilities in the immediate area of that
intersection. The closing of the dealership has negatively affected the area.
       Daikin Industries has developed a new air conditioning and furnace factory, being
approximately 4,500,000 square foot tilt wall facility, which employs 5,000 workers. This new
Daikin facility is located approximately 5.5 miles east of the subject. The appraiser is aware of a
new 900,000 square foot FedEx facility going in on the Grand Parkway in the Far Northwest
submarket (subject’s submarket), and GET just leased a 200,000 square foot industrial building in
the 4th Quarter in the Far Northwest submarket. Transwestern notes that 72% of the new
speculative space in the subject’s submarket is pre-leased indicating strong demand.
       Public Services: Police, fire, and emergency services are generally provided by Waller
County, excepting where the City of Hempstead has controlling authority. Within the city limits,
water and sewer services are available from the City of Hempstead, but are not available outside of
the city limits, where private systems are necessary. Natural gas is not generally available, but
electricity, telephone, high speed internet service, and cable TV are available. Natural gas is
available is certain areas of the City of Hempstead, including the subject property.



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       Recreation: The neighborhood enjoys substantial recreational opportunities due to the
presence of two major universities to the north and east, many fishing areas, bird hunting, off-
roading, and other rural activities. The area has long been popular for gentleman farm estates and
weekend farm/ranch homes. There is a watermelon festival every year, the bluebonnet trail in the
spring, and there are several other major festivals and get-to-gathers between Hempstead, Waller,
Bellville, Brookshire, Chappell Hill, and Round Top. One of the larger antique festivals in the
country (five miles on both sides of the highway) twice a year between Round Top and Warrenton.
While Hempstead itself has only a few antique/collectable shops, the area in general is full of
history and famous for these types of shops.         Another major area attraction is the Texas
Renaissances Festival in the months of October and November, located just to the east at Magnolia.
       Conclusion: While the cities of Waller and Hempstead has grown by about 30% every
decade since the 1960’s, the surrounding Waller County population has more than doubled that
rate, especially over the past 15 years. Suburban development with a Houston base has grown past
the 50 mile mark from the CBD in several directions, and the belt of rolling, creek riddled terrain
west of Houston from Brookshire and Sealy on the south, all the way to Brenham and Navasota on
the north represents logical developmental expansion for the foreseeable future, especially as more
workers are enabled to work part or full time from home computers connecting to their places of
employment.
       COVID-19 (Coronavirus): The global outbreak of a “novel coronavirus” known as
COVID-19 was officially declared a pandemic by the World Health Organization (WHO). The
reader is cautioned and reminded that the conclusions presented in this appraisal report apply only
as of the effective date(s) indicated. The appraiser makes no representation as to the effect on the
subject property of any unforeseen event, subsequent to the effective date of the appraisal.
       The COVID-19 or Coronavirus global pandemic arrived in United States in late January of
2020 unleashing unprecedented public gathering restrictions by March of 2020. The long- and
short-term market impact from Covid-19 is in determining the market value conclusion.
       Current Market Trends: The subject area has experienced moderate amounts of overall
growth in the past 3 to 5 years in the commercial market. Development in the neighborhood
includes retail, commercial, light industrial, multifamily, as well as single-family residential
subdivisions. Overall, this area represents a well-rounded community from all standpoints.
       In addition, as Houston continues to diversify from its previously heavily dependent
petroleum economy, the overall business basis continues to strengthen. Considering the
neighborhood's location, and its accessibility from major thoroughfares, the medium to long-term
prospects for the neighborhood are considered stable.




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      Overall, this neighborhood is considered to have good potential for continued development.
The following pages are a snapshot of the Greater Houston Partnership Volume 31, No. 10 –
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                                    SITE DATA AND ANALYSIS


       An analysis of the subject site is particularly important in determining its highest and best
use. We have relied on the legal description, aerial photos, WCAD tax map, and a thorough
physical property visit of the subject. The following is a discussion of the most important facts.
       Legal Description: 25.132 acres or 1,094,750 square feet of land being Lot 1, Clear Creek
Development, Waller County, Texas.
       Location/Access:      The subject property is located within city limits of the City of
Hempstead, which is an incorporated part of Waller County, Texas. Specifically, the subject
property is situated along the south line of Mack Washington Lane, being just north of Business US
290 (Old Hempstead Highway). Furthermore, the subject is located approximately 1.50 miles east
of State Highway 6 (SH 6).
       Physical Characteristics: The subject site is rectangular in shape and contains a total of
25.132 acres or 1,094,750 square feet of land (size per WCAD).
       Zoning/Land Use: The subject is located in the City of Hempstead within Waller County,
which Hempstead does subscribe to zoning. The subject property is zoned “Agriculture
Residential” by the City of Hempstead, which allows for a variety of agriculture and commercial
uses. There are no known deed restrictions, or other known restrictions as to use or value.
       Floodplain: According to the flood insurance rate map of the Federal Emergency
Management Agency, revised May 16, 2019, FEMA Map No. 48473C0135F, the subject lies
within Zone X, an area outside the 500-year and 100-year floodplains. A copy of the floodplain
map follows this section. Please refer to the caution statement at the bottom of floodplain map.
       Environmental Concerns: An environmental survey for the subject property was not
provided. It is assumed that no adverse environmental or geologic conditions exist, but this should
be checked with appropriate professionals.
       Topography/Drainage: Upon inspection, the subject site appears to be level and well
drained. Drainage of the subject site is facilitated by natural site drainage to open ditch drainage
along bordering roadway rights of way. Drainage of the area is under the control of Waller County
and appears adequate as evidence by the existing improvements in the immediate vicinity.
       Easements and Covenants: The subject has no known easements or restrictions which
would be considered to adversely affect utilization of the subject site. There are utility easements
common to properties in the area.
       Utilities/Education/Public Services The subject does have access to water and sewer via
the City of Hempstead. Electricity is distributed by CenterPoint Energy, and telephone is available
through several national providers. In addition, cable television and high speed internet service are
readily available through a variety of area providers.



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       Police, fire, and emergency services are provided by Waller County. Education is provided
by the Hempstead Independent School District, which provides secondary education through the
high school level (Kindergarten through the 12th grade).
       Conclusion: The subject has good access to primary traffic arteries and all portions of the
greater Houston area. The site is a sufficient size to support a number of possible uses, and does
not appear to be encumbered by any easements or encroachments that would affect value or use.
The subject represents a good developable site with fair accessibility and amenities.




                                Aerial Photo of Subject Site
                            Boundaries are estimated by appraiser




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       Broad Aerial View of Subject and Surrounding Area Development




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                          Subject WCAD Tax Map




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                       Subject as of December 28, 2022




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                                    HIGHEST AND BEST USE

         Highest and best use is defined as "the reasonably probable and legal use of vacant land or
an improved property, which is physically possible, appropriately supported, financially feasible,
and that results in the highest value" (                                          , 6th Edition). The
definitions of highest and best use indicate that there are two types of highest and best use. The
first type is highest and best use of land or a site as though vacant. The second is highest and best
use of a property as improved. Each type requires a separate analysis. Moreover, in each case, the
existing use may or may not be different from the site's highest and best use.
         Legally Permissible: In all cases of highest and best use, the appraiser must determine the
uses of the site which are legally permissible. The subject is located in the City of Hempstead
within Waller County, which Hempstead does subscribe to zoning. The subject property is zoned
“Agriculture Residential,” which allows for a variety of agriculture or commercial development.
Beyond building code requirements, there appear to be no legal impediments to the subject use or
value.
         Physically Possible: Size, terrain, shape with respect to development, surrounding uses,
and utility availability are generally considered the most important in determining uses to which the
subject may be developed. The subject site contains a total of 25.132 acres or 1,094,750 square
feet of vacant land. The subject has access to public water and sewer. The subject tract is of a size
and shape that could accommodate a number of uses. Considering the size and location of the
subject, the most likely physical uses would be for some type of commercial development as
demand warrants.
         Financially Feasible: This criterion dictates that the use must create value and generate a
positive net income. Factors which influence feasible uses include those considered other than
legally permissible and physically possible uses, as well as economic factors relating to rental rates
and occupancies of the various real estate sectors. In other words, a property's financial feasibility
is based on its income potential.
         Maximally Productive: In considering the maximally productive uses, the comparison of
all uses determined to be physically possible, legally permissible, and financially feasible are
evaluated. The maximally productive use produces the highest rate of return or the highest value to
the property. Generally, it is viewed as the ideal improvement. There are few if any uses which
create a greater return to the land than some type of commercial use.
         As Vacant: Based on a review of financial information, it is our opinion that the highest
and best use of the property "as vacant," is for commercial use.




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                                SALES COMPARISON APPROACH

                      
             
             
             
             
                   
         
          
                  
                      
                
                
                
                  
                 
                

                       
         
             
             
      
                        
                
                 
 
                      
               
                 
               
                  
    
                      
                   
         
                   

           
         
          
             
          
        
               
                 
       
         
          
The Appraisal of Real Estate    


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 Sale 1                               Key Map:                                   Reference No: 21096
PROPERTY IDENTIFICATION
Property Type:           Commercial Vacant Land
Property Name:           Commercial Vacant Land
Property Address:        SL Fm 1488 Rd
City, County, State:     Hempstead, Waller County, TX 77445
SALE DATA
Grantor:                  William Ray Price
Grantee:                  Tomball Real Estate Partners LLC
Sale Date:                August 19, 2022
Financing:                Cash to seller
Property Rights:          Fee Simple
Recording Data:           2213372
Legal Description:        Tract 7, John F Martin, Abstract 227, Waller County, TX




SALE ANALYSIS           Sales Price: $1,759,622                Adjusted Sales Price: $1,759,622
                        Land            $0.72 PSF                         $31,449 Per Acre

LAND INFORMATION
Land Size:     55.952 Ac.                      2,437,269 SF
Frontage:      FM 1488
Floodplain:    No                                 Zoning:               None
Panel No.:                                        Encumbrances:         None
Panel Date:                                       Environmental Issues:
UTILITIES
Electricity:            Yes                                  Sewer:         No
Gas:                    No                                   Telephone:     Yes
Water:                  No                                   Road:          2 lane

COMMENTS
Confirmed Sale (MLS 37569686)




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 Sale 2                               Key Map:                                   Reference No: 21097
PROPERTY IDENTIFICATION
Property Type:           Commercial Vacant Land
Property Name:           Commercial Vacant Land
Property Address:        WL of Richards Rd
City, County, State:     Hempstead, Waller County, TX 77445
SALE DATA
Grantor:                  Quest IRA Inc FBO Byron K Preadom
Grantee:                  DMW Properties LLC
Sale Date:                April 29, 2022
Financing:                Cash to seller
Property Rights:          Fee Simple
Recording Data:           2205825
Legal Description:        Tract 93, Justo Liendo, Abstract 41, Waller County, TX




SALE ANALYSIS           Sales Price: $540,000                  Adjusted Sales Price: $540,000
                        Land            $1.12 PSF                         $48,780 Per Acre

LAND INFORMATION
Land Size:     11.070 Ac.                      482,209 SF
Frontage:      Richards Rd
Floodplain:    No                                 Zoning:               None
Panel No.:                                        Encumbrances:         None
Panel Date:                                       Environmental Issues:
UTILITIES
Electricity:            Yes                                  Sewer:         
Gas:                    No                                   Telephone:     Yes
Water:                                                 Road:          2 lane

COMMENTS
Confirmed Sale (MLS 14738240)




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 Sale 3                               Key Map:                                   Reference No: 21095
PROPERTY IDENTIFICATION
Property Type:           Commercial Vacant Land
Property Name:           Commercial Vacant Land
Property Address:        40647 Fm 1488 Rd
City, County, State:     Hempstead, Waller County, TX 77445
SALE DATA
Grantor:                  KGHS Holdings LLC
Grantee:                  Peter S Terpstra
Sale Date:                August 20, 2021
Financing:                Cash to seller
Property Rights:          Fee Simple
Recording Data:           2213372
Legal Description:        Tract 15, Justo Liendo, Abstract 41, Waller County, TX




SALE ANALYSIS           Sales Price: $1,375,000                Adjusted Sales Price: $1,375,000
                        Land            $1.81 PSF                         $78,737 Per Acre

LAND INFORMATION
Land Size:     17.463 Ac.                      760,697 SF
Frontage:      FM 1488
Floodplain:    No                                 Zoning:               None
Panel No.:                                        Encumbrances:         None
Panel Date:                                       Environmental Issues:
UTILITIES
Electricity:            Yes                                  Sewer:         No
Gas:                    No                                   Telephone:     Yes
Water:                  No                                   Road:          2 lane

COMMENTS
Confirmed Sale (MLS 18291140)




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 Sale 4                              Key Map:                                   Reference No: 21098
PROPERTY IDENTIFICATION
Property Type:           Commercial Vacant Land
Property Name:           Commercial Vacant Land
Property Address:        32408 Fm 1488 Rd
City, County, State:     Hempstead, Waller County, TX 77445
SALE DATA
Grantor:                  Jerry Lance Snyder
Grantee:                  32408 FM 1488 LLC
Sale Date:                July 28, 2021
Financing:                Cash to seller
Property Rights:          Fee Simple
Recording Data:           2200675
Legal Description:        Tract 4, Andrew MC Stee, Abstract 220, Waller County, TX




SALE ANALYSIS           Sales Price: $1,900,000               Adjusted Sales Price: $1,900,000
                        Land           $0.80 PSF                         $35,047 Per Acre

LAND INFORMATION
Land Size:     54.213 Ac.                      2,361,518 SF
Frontage:      FM 1488
Floodplain:    No                                 Zoning:               None
Panel No.:                                        Encumbrances:         None
Panel Date:                                       Environmental Issues:
UTILITIES
Electricity:            Yes                                 Sewer:         No
Gas:                    No                                  Telephone:     Yes
Water:                  No                                  Road:          2 lane

COMMENTS
Confirmed Sale (MLS 12883395)




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 Sale 5                               Key Map:                                    Reference No: 21099
PROPERTY IDENTIFICATION
Property Type:           Commercial Vacant Land
Property Name:           Commercial Vacant Land
Property Address:        53681 US 290
City, County, State:     Hempstead, Waller County, TX 77445
SALE DATA
Grantor:                  Michael L Jeane
Grantee:                  Sorsby 290 Ventures LLC
Sale Date:                July 15, 2021
Financing:                Cash to seller
Property Rights:          Fee Simple
Recording Data:           2108240
Legal Description:        Tract 77, James Hall Jr., Abstract 32, Waller County, TX




SALE ANALYSIS           Sales Price: $1,572,000                 Adjusted Sales Price: $1,572,000
                        Land            $1.30 PSF                          $56,575 Per Acre

LAND INFORMATION
Land Size:     27.786 Ac.                      1,210,363 SF
Frontage:      US 290
Floodplain:    No                                 Zoning:               None
Panel No.:                                        Encumbrances:         None
Panel Date:                                       Environmental Issues:
UTILITIES
Electricity:            Yes                                   Sewer:         No
Gas:                    No                                    Telephone:     Yes
Water:                  No                                    Road:          2 lane

COMMENTS
Confirmed Sale (MLS 15043332)




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                                                                                                                                        File No. 16490

                                                                    LOCATION MAP
Borrower or Owner:
Subject Address: SL of Mack Washington Lane                                                                Census Tract: 6803.03
City: Hempstead                County: Waller                                                              State: TX         Zip Code: 77445
Lender or Client:                                                                                          Lat: 30.1163      Long: -96.0494




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CAUTION:
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            The location of property arrows shown on this map are approximate only. Inaccuracies may exist on map such as missing, incorrectly drawn, or incorrectly
            addressed streets. Please report any such inaccuracy to MapPro, Inc. so that appropriate corrections can be made.
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                  Prepared by Scott Stephens & Associates, Inc. using MapPro Service. MapPro Inc., PO Box 37427, Houston, TX 77237 1-866-3MAPPRO.
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                                           SITE VALUATION


       The sales comparison approach utilizes sales transactions of area properties considered
comparable to most characteristics of the subject site. The most basic requirement is that the
comparable sales are located within proximity to the subject neighborhood and have occurred in
the open market in the recent past. This analysis was conducted within the framework of the
definition of market value, as described within the report. It requires a valuation of the site, "as
vacant", as in its highest and best use.
       In order to develop a value estimate for the subject tract, the deed records of Waller
County were searched through a deed reporting service, and the area was surveyed for sales of
comparable tracts.
       Included within this section are five comparable sales of vacant land tracts, which are
considered to be comparable to the subject in the immediate neighborhood. The sales included
for comparison within this section are the most comparable sales to the subject property and are
the most recent sales occurring within the immediate neighborhood. Based on the quality and
quantity of the data, our confidence level in the land sales comparison approach is high. The
sales are described in detail on the land sale comparable forms, which immediately precede this
section. Additionally, a sales map is included in the preceding pages, and the sales map contains
a representation of the size, shape, and location of each sale in relation to the subject property.
       Adjustment Factors: The methodology for this approach is the employment of an
adjustment grid, a copy of which follows this section and also acts as a summary of the land
sales and the basic subject information. No financial adjustments have been necessary. The
following paragraphs discuss the adjustments and make the comparisons with the subject site.
       Conditions of Sale: This adjustment takes into consideration unusual features of the
transaction, such as unusual influences among the sale parties, existing improvements on the
sales at the date of the transaction, or whether or not the sale took place under open market
conditions. No adjustments are necessary.
       Market Conditions (Time): The market condition (time) adjustment is considered and
the lack of sales activity in some real estate sectors may point to the need for this adjustment.
The comparable sales included within this analysis occurred during the previous 2 years. The
current COVID-19 outbreak is considered; however, indications are the subject market segment
that has remained steady. Sales 3, 4, and 5 are adjusted upward for market conditions.
       Size: While the sales at least demonstrate the principle that a smaller site will sell for
more per square foot than a larger one, there is insufficient comparability and numbers from
which to draw a meaningful adjustment factor. However, years of pairing studies throughout the
Gulf Coast area suggest a safe average comparison of 5% to 10% per doubling or halving in size



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by comparison with the subject 25.132-acre site size. The appraiser will analyze the sales based
on a 10% per doubling rounded to the nearest 5%. Sales 2 and 3 are adjusted downward for their
smaller site size as compared to the subject. Sales 1 and 4 are adjusted upward for their larger
site size as compared to the subject. Overall net adjustments may be found on the adjustment
grid.
        Location: Location adjustments are primarily subjective to the appraiser, based upon
experience, knowledge of the various markets involved, and on inspections of the properties
presented. Sales 1, 3, 4, and 5 are adjusted downward for their superior location as compared to
the subject.
        Floodplain: Floodplain designations affect the utilization of each tract, and thus affect
value. The subject is located in the Zone X Floodway. No adjustments were made.
        Physical Characteristics: This adjustment considers corner influence, utilities,
detention, and shape. The subject has access to public water and sewer through the city of
Hempstead. Sales 1, 3, 4, and 5 are adjusted upward for having inferior access to utilities.
        Conclusion: The adjusted sale prices range from $0.79 to $1.40 per square foot with a
mean of $1.06 and a median of $1.01 per square foot. Thus the value for the subject is concluded
to $1.05 per square foot or $1,149,488, rounded to:

                                           $1,150,000




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